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10 ROWLAND MARCUS ANDRADE

11                             UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
13
                                  SAN FRANCISCO DIVISION
14
     UNITED STATES OF AMERICA,                   Case No. 3:2-cr-00249-RS-LBx
15
                 Plaintiff,
16
                                                 [PROPOSED] ORDER GRANTING
           v.                                    DEFENDANT ROWLAND MARCUS
17
                                                 ANDRADE’S MOTION TO COMPEL
18 ROWLAND MARCUS ANDRADE,                       DISCOVERY
19               Defendant.
                                                 Hon. Laurel Beeler, Magistrate Judge
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     [PROPOSED] ORDER GRANTING DEFENDANT’S                  CASE NO. 3:20-CR-00249-RS-LBx
     MOTION TO COMPEL DISCOVERY
     Case 3:20-cr-00249-RS     Document 120-3       Filed 11/28/22   Page 2 of 2




 1                                   [PROPOSED] ORDER
 2         Upon the Motion of Defendant Marcus Andrade, and good cause appearing, IT IS
 3 HEREBY ORDERED THAT Defendant’s Motion to Compel Discovery in the above-captioned

 4 case is hereby GRANTED.

 5

 6 Dated: ________________________                   By:   ______________________
                                                           HON. LAUREL BEELER
 7                                                         United States Magistrate Judge

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     [PROPOSED] ORDER GRANTING DEFENDANT’S                 CASE NO. 3:20-CR-00249-RS-LBx
     MOTION TO COMPEL DISCOVERY
